                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MICHIGAN
                            NORTHERN DIVISION–BAY CITY


In re:

MICHAEL B. WHITE and
DARLA K. WHITE,                                              Case No. 13-21977

         Debtors.                                            Chapter 7
                                                             Hon. Daniel S. Opperman
__________________________________/
MICHAEL B. WHITE,

         Plaintiff,


v.                                                           Adv. Proc. No. 17-2024

COLLENE K. CORCORAN,
Chapter 7 Trustee,

      Defendant.
__________________________________/


      OPINION REGARDING DEFENDANT’S MOTION TO DISMISS AND PLAINTIFF’S
                   CROSS-MOTION FOR SUMMARY JUDGMENT

                                              Facts

         This adversary proceeding was filed by Michael B. White, Debtor in this Chapter 7

proceeding against Collene K. Corcoran, the Chapter 7 Trustee in his bankruptcy case. Plaintiff

seeks to recover monies connected with real property located at 11255 Block Road, Birch Run,

Michigan. Specifically, Plaintiff seeks: $5,250 in rents recovered by the Trustee, $7,500 in costs

incurred by him for allegedly maintaining the real property, $4,500 to allegedly make the

property inhabitable, and $2,000 for actual damages connected with his lost time from work.


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        In lieu of filing an answer to Plaintiff’s Complaint, Defendant filed a Motion to Dismiss

pursuant to Federal Rule of Civil Procedure 12(b)(6),1 arguing first that if Plaintiff is suing her as

an individual, and not in her capacity as Chapter 7 Trustee, such must be dismissed as the actions

complained of by Plaintiff all were in her duties as the Chapter 7 Trustee. Next, Defendant

asserts that any actions complained of are protected by her quasi-judicial immunity as a

bankruptcy trustee acting within the scope of her duties and that the Complaint was filed to

harass and intimidate her in the performance of her duties in administering the estate. Defendant

requests sanctions in the amount of $2,500.00, and $500.00 in attorney fees for Plaintiff “filing

this frivolous complaint.”.

        Plaintiff filed a “Cross-Motion” for Summary Judgment combined with his response to

the Defendant’s Motion to Dismiss, to which the Defendant responded. The Defendant responds

that if her Motion to Dismiss is not granted for the reasons argued, summary judgment is not

appropriate as the allegations in Plaintiff’s Complaint are disputed factually.

                                            Jurisdiction

        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334, 157(a) and

E.D. Mich. LR 83.50. This is a core proceeding under 28 U.S.C. § 157(b)(2)(A) (matters

concerning the administration of the estate).


                                                Law

Standard for Motion to Dismiss - Failure to State a Claim

        Federal Rule of Civil Procedure 12(b) states:


        1
            Made applicable to this adversary proceeding by Federal Rule of Bankruptcy Procedure
9024.

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       Every defense, in law or fact, to a claim for relief in any pleading, whether a
       claim, counterclaim, cross-claim, or third-party claim, shall be asserted in a
       responsive pleading thereto if one is required, except that the following defenses
       may at the option of the pleader be made by motion: (1) lack of jurisdiction over
       the subject matter, (2) lack of jurisdiction over the person, (3) improper venue, (4)
       insufficiency of process, (5) insufficiency of service of process, (6) failure to state
       a claim upon which relief can be granted, (7) failure to join a party under Rule 19.
       A motion making any of these defenses shall be made before pleading if a further
       pleading is permitted.

A motion brought under Fed. R. Civ. P. 12(b)(6) tests the “sufficiency of [a] complaint.” Conley

v. Gibson, 351 U.S. 41, 46 (1957). A court is asked “to examine the plaintiff’s allegations and

determine whether, as a matter of law, the plaintiff is entitled to legal relief even if everything

alleged in the complaint is true.” Mayer v. Mylod, 988 F.2d 635,638 (6th Cir. 1993). “A court

considering a motion to dismiss under Rule 12(b)(6) ‘must accept all well-pleaded factual

allegations of the complaint as true and construe the complaint in the light most favorable to the

plaintiff.’” Benzon v. Morgan Stanley Distributors, 420 F.3d 598, 605 (6th Cir. 2005)(quoting

Inge v. Rock. Fin. Corp., 281 F.3d 613, 619 (6th Cir. 2002)(citing Turker v. Ohio Dep’t of

Rehab. & Corr., 157 3d 453, 456 (6th Cir. 1998))). If “an allegation is capable of more than one

inference, it must be construed in the plaintiff’s favor.” Columbia Natural Resources, Inc. v.

Tatum, 58 F.3d 1120, 1138 (6th Cir. 1995). “While this standard is decidedly liberal, it requires

more than a bare assertion of legal conclusions.” Andrews v. State of Ohio, 104 F.3d 803, 806

(6th Cir. 1997)(quoting Allard v. Weitzman (In re Delorean Motor Co.), 991 F.2d 1236, 1240

(6th Cir. 1993)(emphasis in original)). Under “the Federal Rules of Civil Procedure, a plaintiff

is required to provide a ‘short and plain statement of the claim’ that will give the defendant fair

notice of what the plaintiff’s claim is and the grounds upon which it rests.” Conley v. Gibson,

351 U.S. at 47. “In practice, a . . . complaint must contain either direct or inferential allegations


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respecting all the material elements to sustain a recovery under some viable legal theory.”

Andrews v. State of Ohio, 104 F.3d at 806 (quoting In re Delorean Motor Co., 991 F.2d at 1240).

        In Bell Atlantic Corp., v. Twombly, 550 U.S. 544, 127 S.Ct. 1955 (2007), the United

States Supreme Court revisited the standards that govern Civil Rule 12(b)(6) dismissal motions.

In doing so, the Supreme Court in Twombly reaffirmed the “notice pleading” standard of Rule

8(a)(2) but renounced “the accepted rule that a complaint should not be dismissed for failure to

state a claim unless it appears beyond doubt that the plaintiff can prove no set of facts in support

of his claim which would entitle him to relief.” Twombly, 550 U.S. at 560-61 (quoting Conley v.

Gibson, 355 U.S. 41, 45-46 (1957)). As explained by the Court in Twombly,

        Federal Rule of Civil Procedure 8(a)(2) requires only “a short and plain statement
        of the claim showing that the pleader is entitled to relief,” in order to “give the
        defendant fair notice of what the . . . claim is and the grounds upon which it
        rests[.]”. . . While a complaint attacked by a Rule 12(b)(6) motion to dismiss
        does not need detailed factual allegations, . . . a plaintiff's obligation to provide
        the “grounds” of his “entitle[ment] to relief” requires more than labels and
        conclusions, and a formulaic recitation of the elements of a cause of action will
        not do[.] . . . Factual allegations must be enough to raise a right to relief above the
        speculative level, . . . on the assumption that all the allegations in the complaint
        are true (even if doubtful in fact)[.]


Bell Atlantic Corp. v. Twombly, 550 U.S. at 553-55 (citations omitted). The Twombly court went

on to

        hold that stating . . . a claim requires a complaint with enough factual matter
        (taken as true) to suggest [grounds for relief]. Asking for plausible grounds to
        infer [a right to relief] does not impose a probability requirement at the pleading
        stage; it simply calls for enough fact to raise a reasonable expectation that
        discovery will reveal evidence [of an entitlement to relief]. And, of course, a
        well-pleaded complaint may proceed even if it strikes a savvy judge that actual
        proof of those facts is improbable, and “that a recovery is very remote and
        unlikely.”

Bell Atlantic Corp. v. Twombly, 550 U.S. at 553-55 (citations omitted). See also Erickson v.

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Pardus, 551 U.S. 89, 127 S.Ct. 2197 (2007) (explaining that Fed.R.Civ.P. 8(a)(2) “requires only

‘a short and plain statement of the claim showing that the pleader is entitled to relief.’ Specific

facts are not necessary[.]”)).

       The Supreme Court later examined Twombly in the case of Ashcroft v. Iqbal, 556

U.S.662 (2009). In Iqbal, the Supreme Court held that Twombly applies to all civil actions and is

not limited to antitrust disputes only as was the case in Twombly. Iqbal, 556 U.S. 684. The

Iqbal Court further defined two “working principles underl[ying its] decision in Twombly:

       First, the tenet that a court must accept as true all of the allegations contained in a
       complaint is inapplicable to legal conclusions. Threadbare recitals of the
       elements of a cause of action, supported by mere conclusory statements, do not
       suffice. . . . Rule 8 marks a notable and generous departure from the hyper-
       technical, code-pleading regime of a prior era, but it does not unlock the doors of
       discovery for a plaintiff armed with nothing more than conclusions. Second, only
       a complaint that states a plausible claim for relief survives a motion to dismiss. . .
       .         Determining whether a complaint states a plausible claim for
                relief will, as the Court of Appeals observed, be a context-specific
                task that requires the reviewing court to draw on its judicial
                experience and common sense. . . . But where the well-pleaded
                facts do not permit the court to infer more than the mere possibility
                of misconduct, the complaint has alleged–but it has not “show[n]”
                – “that the pleader is entitled to relief.”

Iqbal, 556 U.S. at 678-79 (citations omitted).

Bankruptcy Trustee’s Quasi-Judicial Immunity

       Bankruptcy trustees are entitled to quasi-judicial immunity from actions brought by third

parties for actions taken in his or her official capacity as Trustee. Grant, Konvalinka &

Harrison, PC v. Banks (In re McKenzie), 716 F.3d 404, 413 (6th Cir. 2013). “‘A banrkuptcy

trustee is liable personally only for acts willfully and deliberately in violation of his fiduciary

duties.’” Id. (quoting Ford Motor Credit Co. v. Weaver, 680 F.3d 451, 462 (6th Cir. 1982)). The

most common situations in which the bankruptcy trustee was entitled to quasi-judicial immunity

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are conservation of the assets of the bankruptcy estate. See, e.g., Kashani v. Fulton (In re

Kashani), 190 B.R. 875, 883 (B.A.P. 9th Cir. 1995).

                                     Analysis and Conclusion

       First, the Court addresses the various actions complained of by Plaintiff that are within

the scope of the duties and responsibilities of a Chapter 7 trustee in administering assets of the

bankruptcy estate, including the sale of property and collection of rents. Any such allegation

that Collene Corcoran is liable personally is dismissed as all complained of actions are within the

scope of Ms. Corcoran’s duties as a Chapter 7 Trustee.

       Second, the Court has closely and carefully reviewed Plaintiff’s Complaint. All of

actions complained of by Plaintiff fall within the scope of the authority and discretion of Chapter

7 trustees and were within Defendant’s duties as the Chapter 7 Trustee. While Plaintiff may not

agree with the outcome of Defendant’s execution of her duties, Defendant is shielded from suit

under the quasi-judicial immunity granted bankruptcy trustees. Finding no “plausible” claim

here, the Court concludes that Plaintiff has failed to state a claim upon which relief can be

granted.

       Third, to ensure no loose ends remain in this matter, the Court concludes that Plaintiff’s

Motion for Summary Judgment would not be granted. Federal Rule of Bankruptcy Procedure

7056(c) provides that summary judgment is proper "if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to judgment as a matter

of law." See Choate v. Landis Tool Co., 46 F. Supp. 774 (E.D. Mich. 1980). The moving party

bears the burden of showing the absence of a genuine issue of material fact as to an essential


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element of the non-moving party's case. Street v. J.C. Bradford & Co., 886 F.2d 1472 (6th Cir.

1989) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986)).

Assuming, for sake of argument, that this case survived Defendant’s Motion to Dismiss, the

allegations in Plaintiff’s Complaint are fraught with genuine issues of fact, making summary

judgment inappropriate.

                                            Conclusion

       For these reasons, the Court concludes that Defendant’s Motion to Dismiss is granted

pursuant to Rule 16(b)(6) for failure to state a claim upon which relief can be granted.

Plaintiff’s Cross-Motion for Summary Judgment is denied as moot. The Court will enter an

appropriate order.

Not for Publication


Signed on September 29, 2017




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